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                                                                            APPEAL,TERMED
                 U.S. District Court − District of Colorado
                       District of Colorado (Denver)
     CRIMINAL DOCKET FOR CASE #: 1:15−cr−00395−REB All Defendants

   Case title: USA v. Williams                        Date Filed: 10/07/2015
                                                      Date Terminated: 06/21/2019

   Assigned to: Judge Robert E.
   Blackburn
   Appeals court case number:
   19−1229 USCA

   Defendant (1)
   Alan Alonzo Williams           represented by Alan Alonzo Williams
   TERMINATED: 06/21/2019                        #43473−013
                                                 ENGLEWOOD
                                                 FEDERAL CORRECTIONAL INSTITUTION
                                                 Inmate Mail/Parcels
                                                 9595 WEST QUINCY AVENUE
                                                 LITTLETON, CO 80123
                                                 PRO SE

                                             Keith Bradley
                                             Squire Patton Boggs (US) LLP−Denver
                                             1801 California Street
                                             Suite 4900
                                             Denver, CO 80202
                                             303−894−6156
                                             Fax: 303−894−9239
                                             Email: keith.bradley@squirepb.com
                                             ATTORNEY TO BE NOTICED
                                             Designation: 10th Circuit Special Designation

                                             Matthew C. Golla
                                             Office of the Federal Public Defender−Denver
                                             633 Seventeenth Street
                                             Suite 1000
                                             Denver, CO 80202
                                             303−294−7002
                                             Fax: 303−294−1192
                                             Email: Matt_Golla@fd.org
                                             TERMINATED: 07/19/2016
                                             Designation: Public Defender or Community
                                             Defender Appointment

                                             Michael John Gallagher
                                             Davis Graham & Stubbs, LLP−Denver

                                                                                             1
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                                             1550 17th Street
                                             Suite 500
                                             Denver, CO 80202
                                             303−892−9400
                                             Fax: 303−893−1379
                                             Email: mike.gallagher@dgslaw.com
                                             TERMINATED: 11/15/2017
                                             Designation: CJA Appointment

                                             Steven K. Jacobson
                                             Collins & Rafik
                                             1881 9th Street
                                             #315
                                             Boulder, CO 80302
                                             303−444−9292
                                             Fax: 303−447−0200
                                             Email: steve@rafiklaw.com
                                             ATTORNEY TO BE NOTICED
                                             Designation: CJA Appointment

   Pending Counts                            Disposition
   BANK FRAUD                                84 months imprisonment. 5 years supervised release.
   (1)                                       $100 special assessment. $1,146,828.28 restitution.

   Highest Offense Level
   (Opening)
   Felony

   Terminated Counts                         Disposition
   BANK FRAUD
                                             Dismissed.
   (2−4)

   Highest Offense Level
   (Terminated)
   Felony

   Complaints                                Disposition
   None



   Plaintiff
   USA                                  represented by Linda S. Kaufman
                                                       U.S. Attorney's Office−Denver
                                                       1801 California Street
                                                       Suite 1600
                                                       Denver, CO 80202

                                                                                                   2
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                                                               303−454−0100
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                                                               LEAD ATTORNEY
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                                                               Designation: Federal Agency Attorney

                                                               Julia K. Martinez
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                                                               Denver, CO 80202
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                                                               Designation: Federal Agency Attorney

    Date Filed   #    Page Docket Text
    04/06/2018   84      5 TRANSCRIPT of Change of Plea as to Alan Alonzo Williams held on
                           1−12−17 before Judge Blackburn. Pages: 1−31. <br><br> NOTICE −
                           REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                           filing, each party shall inform the Court, by filing a Notice of Intent to
                           Redact, of the party's intent to redact personal identifiers from the
                           electronic transcript of the court proceeding. If a Notice of Intent to
                           Redact is not filed within the allotted time, this transcript will be made
                           electronically available after 90 days. Please see the Notice of Electronic
                           Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                           Transcript may only be viewed at the court public terminal or purchased
                           through the Court Reporter/Transcriber prior to the 90 day deadline for
                           electronic posting on PACER. (tweir, ) (Entered: 04/06/2018)
    04/11/2018   85    36 Corrected TRANSCRIPT of Change of Plea as to Alan Alonzo Williams held
                          on 1−12−17 before Judge Blackburn. Pages: 1−31. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
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                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased

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                           through the Court Reporter/Transcriber prior to the 90 day deadline for
                           electronic posting on PACER. (tweir, ) (Entered: 04/11/2018)
    05/15/2019   144   67 TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Alan Alonzo
                          Williams held on 03/23/2016 before Magistrate Judge Tafoya. Pages: 1−6.
                          Prepared by: AB Court Reporting & Video, Inc..

                            NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                           days of this filing, each party shall inform the Court, by filing a Notice of
                           Intent to Redact, of the party's intent to redact personal identifiers from
                           the electronic transcript of the court proceeding. If a Notice of Intent to
                           Redact is not filed within the allotted time, this transcript will be made
                           electronically available after 90 days. Please see the Notice of Electronic
                           Availability of Transcripts document at www.cod.uscourts.gov.

                           Transcript may only be viewed at the court public terminal or purchased
                           through the Court Reporter/Transcriber prior to the 90 day deadline for
                           electronic posting on PACER. (AB Court Reporting & Video, Inc., ) (Entered:
                           05/15/2019)




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   1                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
   2
        Criminal Action No. 15-CR-00395-REB
   3
        UNITED STATES OF AMERICA,
   4
              Plaintiff,
   5
        vs.
   6
        ALAN ALONZO WILLIAMS,
   7
              Defendant.
   8
        _______________________________________________________________
   9
                                   REPORTER'S TRANSCRIPT
  10                                 (Change of Plea)

  11    _______________________________________________________________

  12                Proceedings before the HONORABLE ROBERT E. BLACKBURN,

  13    Judge, United States District Court for the District of

  14    Colorado, commencing at 9:04 a.m., on the 12th day of January,

  15    2017, in Courtroom A1001, United States Courthouse, Denver,

  16    Colorado.

  17

  18

  19

  20

  21

  22

  23

  24      Proceeding Recorded by Mechanical Stenography, Transcription
              Produced via Computer by Tracy Weir, 901 19th Street,
  25            Room A258, Denver, Colorado 80294, (303) 298-1207



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   1                                      APPEARANCES

   2                LINDA KAUFMAN, Assistant U.S. Attorney, 1801

   3    California Street, Suite 1600, Denver, Colorado 80202,

   4    appearing for the plaintiff.

   5                MICHAEL GALLAGHER, Attorney at Law, Davis Graham &

   6    Stubbs, LLP-Denver, 1550 17th Street, Suite 500, Denver,

   7    Colorado 80202, appearing for the defendant.

   8                                    *   *   *   *   *

   9                                      PROCEEDINGS

  10                (In open court at 9:04 a.m.)

  11                THE COURT:     Good morning, and thank you.          Please be

  12    seated.

  13                Very well.     This is case 15-cr-00395, identified as

  14    United States of America versus Alan Alonzo Williams,

  15    defendant.

  16                The matter comes before this Court for change of plea

  17    hearing.     Thus, commencing with the Government and

  18    transitioning to the defense, Counsel, good morning.                 May I

  19    have your appearances, please.           Ms. Kaufman.

  20                MS. KAUFMAN:      Good morning, Your Honor.         Linda Kaufman

  21    on behalf of the United States.             With me is Timothy Chase from

  22    the Internal Revenue Service criminal investigations.

  23                THE COURT:     Good morning.

  24                MR. GALLAGHER:      Good morning, Your Honor.          Michael

  25    Gallagher with the defendant, Mr. Williams, who is present



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   1    also.

   2                THE COURT:     Good morning.

   3                I have received, read, and reviewed the proposed Plea

   4    Agreement.      Importantly and initially, it includes the

   5    documents required under the local rules of this United States

   6    District Court.       Thus, there is a Plea Agreement now marked as

   7    Court's Exhibit 1 and a Statement by Defendant in Advance of

   8    Plea of Guilty now marked as Court's Exhibit 2.

   9                Importantly, the originals of Court's Exhibits 1 and 2

  10    should remain with Mr. Williams during this change of plea

  11    hearing.

  12                At this time, I respectfully request that Mr. Williams

  13    and his counsel, Mr. Gallagher, report to the podium, please.

  14    Gentlemen, I thank you both.

  15                Mr. Williams, good morning.          Please raise your right

  16    hand now to be sworn by the Court.            Thank you.

  17                (Defendant sworn.)

  18                THE DEFENDANT:      Yes, Your Honor.

  19                THE COURT:     Mr. Williams, please understand your oath

  20    is important.       Indeed, it is solemn.        Please understand that if

  21    you make a false statement to me during this Change of Plea

  22    hearing, any false statement could be used against you by the

  23    Government in another criminal case and prosecution here in

  24    federal court on such charges as perjury or making a false

  25    statement.      Do you understand that?



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   1                THE DEFENDANT:      Yes, Your Honor.

   2                THE COURT:     This Change of Plea hearing is a

   3    critically important hearing for you in your case so, of

   4    course, please pay close attention.

   5                If you fail to hear or understand something that I say

   6    or ask, or if you have questions or concerns during the

   7    hearing, please make those matters known to me either directly

   8    or with the assistance of your attorney, Mr. Gallagher.                  Will

   9    you do that?

  10                THE DEFENDANT:      Yes, Your Honor.

  11                THE COURT:     Now, during this hearing, I'm going to use

  12    the term "Written Plea Agreement" frequently.               When I do, I'm

  13    referring to your Plea Agreement now in writing in the

  14    originals of Court's Exhibits 1 and 2 which are in your

  15    possession.      Do you understand that?

  16                THE DEFENDANT:      Yes, Your Honor.

  17                THE COURT:     Mr. Williams, how old are you?

  18                THE DEFENDANT:      54 years old.

  19                THE COURT:     How many years of formal education do have

  20    you?

  21                THE DEFENDANT:      14 years, Your Honor.

  22                THE COURT:     Do you have any problems reading, writing,

  23    speaking, or understanding English?

  24                THE DEFENDANT:      No, Your Honor.

  25                THE COURT:     Are you now under the influence of or



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   1    impaired in any way by drugs, narcotics, marijuana, alcohol,

   2    medications, or any intoxicant?

   3                THE DEFENDANT:      No, Your Honor.

   4                THE COURT:     To your knowledge as a layperson, do you

   5    suffer from a mental illness or emotional disability?

   6                THE DEFENDANT:      No, Your Honor.

   7                THE COURT:     Finally, is there anything about the way

   8    you feel this morning physically, emotionally, or otherwise

   9    that prevents you from clearly understanding these proceedings?

  10                THE DEFENDANT:      No, Your Honor.

  11                THE COURT:     Mr. Williams, importantly, are you

  12    prepared to proceed?

  13                THE DEFENDANT:      Yes, Your Honor.

  14                THE COURT:     Your attorney, Mr. Michael Gallagher, is

  15    literally with you by your side at the podium.                Did he have

  16    your authority, permission, and consent to engage in plea

  17    bargaining on your behalf with the attorney for the Government?

  18                THE DEFENDANT:      Yes, Your Honor.

  19                THE COURT:     The operative charging document in this

  20    case is the Indictment returned by the grand jury on October 7,

  21    2015, and docketed as docket No. 1.

  22                Have you received, read, and reviewed that four-count

  23    Indictment carefully and thoroughly?

  24                THE DEFENDANT:      Yes, Your Honor.

  25                THE COURT:     Have you reviewed it and discussed it



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    1    carefully and thoroughly with your attorney?

    2               THE DEFENDANT:      Yes, Your Honor.

    3               THE COURT:     Do you understand that although you are

    4    charged with four counts, your plea of guilty will be to Count

    5    1 of that Indictment?

    6               THE DEFENDANT:      Yes, Your Honor.

    7               THE COURT:     Mr. Gallagher, I inquire, does

    8    Mr. Williams demand or waive a formal reading now by the Court

    9    of the Indictment?

   10               MR. GALLAGHER:      We waive the formal reading, Your

   11    Honor.

   12               THE COURT:     Thank you.

   13               Now, Mr. Williams, please pay close attention as I

   14    state for the record my understanding of the essential terms of

   15    your Plea Agreement.        When I'm finished, I'm going to ask you

   16    and these attorneys to confirm my understanding.

   17               It's no secret.       I'm taking my information about your

   18    Plea Agreement from your Plea Agreement; specifically, Court's

   19    Exhibit 1, the original of which you have with you at the

   20    podium.

   21               It is my understanding, Mr. Williams, that during this

   22    Change of Plea hearing, you will enter an informed, voluntary,

   23    knowing, and unconditional plea of guilty to the crime charged

   24    in Count 1 of the Indictment, the crime of bank fraud in

   25    violation of federal law at Title 18 United States Code Section



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    1    1344 and 2(b).

    2               That you will be convicted of this serious felony

    3    offense of bank fraud.

    4               That at the time of your sentencing hearing, which, of

    5    course, is not today, the Government will move to dismiss with

    6    prejudice, which means forever and irrevocably, all remaining

    7    counts and crimes with which you are charged in the Indictment.

    8               Additionally, the Government will not pursue further

    9    criminal charges against you based on information known to the

   10    office of the United States Attorney for the District of

   11    Colorado as of today's date.

   12               The Government also agrees to recommend a sentence to

   13    imprisonment within the applicable advisory sentencing

   14    guideline range once properly determined by this Court,

   15    excluding any downward departure.

   16               I'm moving to page 2.

   17               You and the Government agree that restitution is

   18    mandatory, and that restitution in this case is in the amount

   19    of $1,146,828.28.

   20               That subject only to the exceptions stated expressly

   21    in your Plea Agreement, you are waiving your right to appeal

   22    any sentence that I impose and your right to collaterally

   23    attack later any component of your prosecution, conviction, and

   24    sentencing.

   25               Lastly, but important to both you and me, the sentence



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    1    to be imposed has been entrusted to my judgment and discretion

    2    as the judge in your case.

    3               This is my understanding of the Plea Agreement.               Is it

    4    correct from the perspective of Government, Ms. Kaufman?

    5               MS. KAUFMAN:      Yes, Your Honor.

    6               THE COURT:     And from of that the defense,

    7    Mr. Gallagher?

    8               MR. GALLAGHER:      Yes, sir.

    9               THE COURT:     Mr. Williams, from your unique perspective

   10    as the defendant, the person charged in this criminal case in

   11    federal court, have I got it right?           Have I completely and

   12    accurately stated the essential terms of your Plea Agreement?

   13               THE DEFENDANT:      Yes, Your Honor.

   14               THE COURT:     Now, Mr. Williams, I direct your attention

   15    to your Plea Agreement in writing in the originals of Court's

   16    Exhibits 1 and 2 which remain in your possession.               Have you

   17    read your written Plea Agreement in its entirety?

   18               THE DEFENDANT:      Yes, Your Honor.

   19               THE COURT:     Word for word?

   20               THE DEFENDANT:      Yes, Your Honor.

   21               THE COURT:     Did you then understand and do you now

   22    understand what you read?

   23               THE DEFENDANT:      Yes, Your Honor.

   24               THE COURT:     Have you reviewed and discussed your

   25    written Plea Agreement in its entirety carefully and thoroughly



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    1    with your attorney, Mr. Gallagher?

    2               THE DEFENDANT:      Yes, Your Honor.

    3               THE COURT:     Are you now satisfied and confident that

    4    you understand everything in your written Plea Agreement?

    5               THE DEFENDANT:      Yes, Your Honor.

    6               THE COURT:     Conversely, do you now have any questions

    7    or concerns about anything in your written Plea Agreement?

    8               THE DEFENDANT:      No, Your Honor.

    9               THE COURT:     Importantly, have you executed, or signed,

   10    your written Plea Agreement, speaking of the originals of

   11    Court's Exhibits 1 and 2?

   12               THE DEFENDANT:      Yes, Your Honor.

   13               THE COURT:     When you signed your written Plea

   14    Agreement, did you do so voluntarily?

   15               THE DEFENDANT:      Yes, Your Honor.

   16               THE COURT:     Did you then also have the benefit of the

   17    advice and assistance of your attorney, Mr. Gallagher?

   18               THE DEFENDANT:      Yes, Your Honor.

   19               THE COURT:     Mr. Williams, most importantly, are you

   20    now formally requesting that this Court receive, accept, and

   21    approve your Plea Agreement as stated in writing in the

   22    originals of Court's Exhibits 1 and 2?

   23               THE DEFENDANT:      Yes, Your Honor.

   24               THE COURT:     Mr. Williams, as the defendant; again, the

   25    individual charged in this criminal case in federal court, you



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    1    have many important constitutional and legal rights and

    2    privileges.      Do you understand that?

    3               THE DEFENDANT:       Yes, Your Honor.

    4               THE COURT:      Have you reviewed and discussed your

    5    important legal rights carefully and thoroughly with

    6    Mr. Gallagher?

    7               THE DEFENDANT:       Yes, Your Honor.

    8               THE COURT:      Nevertheless, please be patient and

    9    attentive as I advise you of your important legal rights.

   10               Mr. Williams, you have the right to be represented at

   11    all times in these criminal proceedings in federal court by an

   12    attorney.     If you want one but cannot retain one or afford one,

   13    the Court will appoint an attorney to represent you at the

   14    expense of the Government.

   15               You also have the associated legal right to the

   16    effective, or competent, assistance of your legal counsel.

   17               You have the right to enter a plea of not guilty to

   18    any crime with which you are charged by Indictment in this

   19    case, and even now, right now, you have the right to persist

   20    with your existing pleas of not guilty.             In other words, no one

   21    can force or compel you to enter a plea of guilty to anything.

   22               In this criminal case in federal court, the

   23    Government, Ms. Kaufman, not you, the defendant, has the burden

   24    of proof, which requires for a conviction proof beyond a

   25    reasonable doubt, which is the highest standard of proof in our



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    1    federal criminal justice system.

    2               This means, among other things, Mr. Williams, that as

    3    the defendant, you are not expected or required to prove

    4    anything in this case, including and especially your own

    5    innocence.

    6               You have an absolute right to remain silent, and no

    7    one can force or compel you to testify against yourself or to

    8    incriminate yourself.

    9               You, of course, have the right to a trial to a jury

   10    consisting of not less than 12 of our citizens whose verdict or

   11    verdicts must be unanimous.

   12               You have the right to a speedy trial as defined under

   13    our Constitution and the Speedy Trial Act of 1974.

   14               If your case went to trial, and it is not because of

   15    this Plea Agreement, you have the right to require the

   16    Government to prove each element required by law for the

   17    commission and conviction of the crime of bank fraud beyond a

   18    reasonable doubt.

   19               At trial, you have the right, with the help of your

   20    attorney, to cross-examine all witnesses called against you by

   21    the Government.

   22               At trial, once the Government presents its evidence

   23    against you, you have the right to choose, either to testify in

   24    your own behalf as a part of your defense, or to say nothing at

   25    all, to remain absolutely silent, in which case at your request



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    1    I would instruct your jurors that they may not use your silence

    2    against you in any way during your trial.

    3               At trial, you have the right to call your own

    4    witnesses, compelling their attendance, if necessary, by court

    5    ordered and issued subpoenas.

    6               At trial, you have the right to present your own

    7    evidence, the right to present a defense, and under our system,

    8    if you are financially unable to make that important

    9    presentation, don't worry.          It will be made, but at the expense

   10    of the Government.

   11               Finally, if after a trial you are convicted and

   12    sentenced, then you have the right to appeal to a court higher

   13    than this Court.       Do you understand each of these important

   14    legal rights that you have in your case?

   15               THE DEFENDANT:       Yes, Your Honor.

   16               THE COURT:      Do you have any questions now for me about

   17    any of your legal rights?

   18               THE DEFENDANT:       No, Your Honor.

   19               THE COURT:      Please understand next, with the exception

   20    of the important right to an attorney, even if indigent, when

   21    you enter your plea of guilty during this hearing to the crime

   22    of bank fraud charged in Count 1 of the Indictment, you are

   23    waiving, giving up now and forever, your other important legal

   24    rights, including your right to a trial to a jury.                Do you both

   25    understand and accept that important part of your Plea



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    1    Agreement?

    2               THE DEFENDANT:       Yes, Your Honor.

    3               THE COURT:      Your Plea Agreement in Court's Exhibit 1

    4    contains what we call a waiver of appeal, which is presented on

    5    page 2 of Court's Exhibit 1.          Let's discuss that waiver.

    6               Ordinarily, you would have the right to appeal to a

    7    higher court not only any sentence I imposed on you, but the

    8    manner in which I determined that sentence.              Do you understand

    9    that?

   10               THE DEFENDANT:       Yes, Your Honor.

   11               THE COURT:      However, in your Plea Agreement, you are

   12    waiving, or giving up, that important right subject only to the

   13    three exceptions stated expressly in subparagraph 5.                 Do you

   14    understand and accept that important part of your Plea

   15    Agreement?

   16               THE DEFENDANT:       Yes, Your Honor.

   17               THE COURT:      Then let us discuss those three

   18    exceptions.

   19               Exception No. 1.       If at your sentencing hearing, for

   20    some incomprehensible reason, I attempt to impose a sentence

   21    greater than that authorized by law -- that's not likely to

   22    happen -- but if I do, you would then have the right to appeal

   23    such an obviously illegal sentence to a higher court.                 Do you

   24    understand this first exception?

   25               THE DEFENDANT:       Yes, Your Honor.



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    1               THE COURT:      Exception No. 2.       If the sentence I impose

    2    exceeds the maximum sentence within the advisory sentencing

    3    guideline range that applies to a total offense level of 20,

    4    then you may appeal your sentence to a higher court.                 Do you

    5    understand this second exception?

    6               THE DEFENDANT:       Yes, Your Honor.

    7               THE COURT:      Finally, exception No. 3.         If the

    8    Government appeals the sentence I impose, then you may appeal

    9    the sentence I impose.         In fact, you may then appeal on any

   10    ground that is properly available to you following the entry of

   11    a plea of guilty.       Do you understand this third exception?

   12               THE DEFENDANT:       Yes, Your Honor.

   13               THE COURT:      Let's move on.      Ordinarily, albeit in

   14    extremely limited factual and legal circumstances, and in a

   15    relatively short period of time, you may be able to bring a

   16    special legal proceeding attacking the legality of your

   17    prosecution and/or your conviction and/or your sentencing.                  Do

   18    you understand that?

   19               THE DEFENDANT:       Yes, Your Honor.

   20               THE COURT:      However, in your Plea Agreement, you are

   21    waiving, or giving up, that right to bring such a collateral

   22    attack; again, subject only to the three exceptions expressly

   23    stated in subparagraph 6 of your Plea Agreement.                Do you

   24    understand and accept this important part of your Plea

   25    Agreement?



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    1               THE DEFENDANT:       Yes, Your Honor.

    2               THE COURT:      As before, let's focus on the three

    3    exceptions.      Exception No. 1.      If, after I impose sentence on

    4    you, the law changes in your favor and is made retroactive to

    5    the time of your sentencing, then you might be able to bring a

    6    special legal proceeding to receive a reduced, or lesser,

    7    sentence.     Do you understand this first exception?

    8               THE DEFENDANT:       Yes, Your Honor.

    9               THE COURT:      Exception No. 2.       If you have a claim that

   10    your attorney was ineffective or incompetent in violation of

   11    your constitutional rights, then you might be able to bring a

   12    special legal proceeding to correct that constitutional

   13    violation.     Do you understand this second exception?

   14               THE DEFENDANT:       Yes, Your Honor.

   15               THE COURT:      Exception No. 3.       If you have a claim that

   16    the Government, during your prosecution, engaged in misconduct

   17    so extreme that it violated your constitutional rights, then

   18    you might be able to bring a special legal proceeding to

   19    correct that constitutional violation.             Do you understand that

   20    third exception?

   21               THE DEFENDANT:       Yes, Your Honor.

   22               THE COURT:      Any questions for me about the waiver

   23    appeal provisions in subparagraphs 5 and 6 on page 2 of Court's

   24    Exhibit 1?

   25               THE DEFENDANT:       No, Your Honor.



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    1               THE COURT:      Now, please remain in Court's Exhibit 1

    2    where I direct your attention to --

    3               MR. GALLAGHER:       Your Honor, he was asking me a

    4    question.     May I have just a second?

    5               THE COURT:      You may.    Thank you.      I had my head down.

    6         (Pause in proceedings.)

    7               MR. GALLAGHER:       Thank you, Your Honor.

    8               THE COURT:      You're welcome.

    9               Mr. Williams, next I want to discuss with you that

   10    which is described in your Plea Agreement as elements of the

   11    offense.     That important information appears in Court's Exhibit

   12    1 on page 3 under II, aptly entitled "Elements of the Offense."

   13               By elements of the offense, your Plea Agreement is

   14    describing those elements, those things, facts, conditions, and

   15    circumstances required by federal law for the commission and

   16    conviction of the crime of bank fraud, which is now made the

   17    focus of your Plea Agreement, and because there will be no

   18    trial it describes those elements that you are admitting

   19    unconditionally when you enter your plea of guilty to bank

   20    fraud later in this hearing.          Do you understand what I mean by

   21    elements of the offense?

   22               THE DEFENDANT:       Yes, Your Honor.

   23               THE COURT:      The elements required by federal law for

   24    the commission and conviction of bank fraud as you are charged

   25    in Count 1 of the Indictment are as follows:



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    1               One.    That you, the defendant, knowingly executed or

    2    attempted to execute a scheme or artifice to defraud a

    3    financial institution or to obtain money or property from the

    4    financial institution by means of false or fraudulent

    5    pretenses, representations, or promises.

    6               Two.    The target financial institution was an

    7    institution, the deposits in which were insured by the FDIC.

    8               Three.     That you acted with the intent to defraud.

    9               Four.    The false or fraudulent pretenses,

   10    representations, or promises that you made or willfully caused

   11    another to make were material, meaning that they would

   12    naturally tend to influence or were capable of influencing the

   13    decision of the target financial institution.               Do you

   14    understand each and all of these four elements required by

   15    federal law for the commission and conviction of the crime of

   16    bank fraud with which you are charged in Count 1 of the

   17    Indictment?

   18               THE DEFENDANT:       Yes, Your Honor.

   19               THE COURT:      Any questions for me about any one or more

   20    of these essential elements?

   21               THE DEFENDANT:       No, Your Honor.

   22               THE COURT:      Thank you.     Please remain in Court's

   23    Exhibit 1 where I now direct your attention to page 4;

   24    specifically, to V, "Stipulation of Facts."              This part V of

   25    your Plea Agreement begins on page 4, continues for several



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    1    pages, and concludes eventually at the top of page 14.

    2               Mr. Williams, I have five important questions for you

    3    about this part V of your Plea Agreement.              Question No. 1.

    4    Have you read this part V of your Plea Agreement in its

    5    entirety?

    6               THE DEFENDANT:       Yes, Your Honor.

    7               THE COURT:      Word for word?

    8               THE DEFENDANT:       Yes, Your Honor.

    9               THE COURT:      Question No. 2.      Did you then understand

   10    and do you now understand what you read in part V of your Plea

   11    Agreement?

   12               THE DEFENDANT:       Yes, Your Honor.

   13               THE COURT:      Question No. 3.      Have you reviewed and

   14    discussed this part V of your Plea Agreement carefully and

   15    thoroughly with your attorney, Mr. Gallagher?

   16               THE DEFENDANT:       Yes, Your Honor.

   17               THE COURT:      Question No. 4.      Are the facts stated in

   18    part V of your Plea Agreement complete and accurate, from your

   19    perspective and in your opinion?

   20               THE DEFENDANT:       Yes, Your Honor.

   21               THE COURT:      Finally, and importantly, question No. 5.

   22    Mr. Williams, did you do the things that are stated as fact in

   23    this part V of your Plea Agreement?

   24               THE DEFENDANT:       Yes, Your Honor.

   25               THE COURT:      Very well.     Let us discuss sentencing.          I



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    1    begin by reiterating that under the terms of your Plea

    2    Agreement, the sentence to be imposed has been entrusted to my

    3    judgment and discretion as the judge in your case.                Do you both

    4    understand and accept this important part of your Plea

    5    Agreement?

    6               THE DEFENDANT:       Yes, Your Honor.

    7               THE COURT:      This means, Mr. Williams, that I will not

    8    be bound necessarily, either now, right now, or later at the

    9    time of your sentencing hearing, by what anyone may have told

   10    you, promised you, or predicted for you about the sentence that

   11    I will impose.      Do you understand that?

   12               THE DEFENDANT:       Yes, Your Honor.

   13               THE COURT:      Instead, under the terms of your Plea

   14    Agreement, I may impose any sentence permitted by law up to and

   15    including the maximum sentence and penalty authorized by law.

   16    Do you understand that?

   17               THE DEFENDANT:       Yes, Your Honor.

   18               THE COURT:      Please understand next that in my

   19    consideration and eventual imposition of sentence on you, I

   20    must consider several important factors.             First, I must

   21    consider the goals and purposes of the federal sentencing

   22    statute.     Second, I must consider carefully the provisions of

   23    the now advisory United States Sentencing Guidelines as they

   24    apply to you, your history and characteristics, the crime of

   25    bank fraud in Count 1, its nature and circumstances, and then



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    1    all other relevant conduct.          Third, I must consider and resolve

    2    any motion for a sentence departure or a sentence variance,

    3    whether upward or downward.          Finally, I must consider carefully

    4    certain individual sentencing needs found in our federal

    5    sentencing statute.

    6               Now, there's not going to be a test on those, but do

    7    you, in a general way, understand those important factors?

    8               THE DEFENDANT:       Yes, Your Honor.

    9               THE COURT:      Now, I really said all of that to conclude

   10    by saying this.       At your sentencing hearing, if I reject any

   11    recommendation that is good for you, or if I deny any motion

   12    that is good for you, other than the Government's obligatory

   13    motion to dismiss with prejudice the other counts of the

   14    Indictment, or if I impose any sentence or penalty with which

   15    you disagree or object, listen carefully, you may not then

   16    withdraw or take back the plea of guilty you enter this

   17    morning.     Do you understand this clearly and completely?

   18               THE DEFENDANT:       Yes, Your Honor.

   19               THE COURT:      Now, I must advise you concerning the

   20    maximum possible sentences and penalties, or as I often say,

   21    the worst case scenario.

   22               At your sentencing hearing, for a conviction of bank

   23    fraud as charged in Count 1 of the Indictment, I could sentence

   24    you to a term of imprisonment up to 30 years, 360 months, which

   25    could be followed by an additional term of supervised release



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    1    of not more than five years, 60 months, and/or I could impose a

    2    fine of, in the alternative, not more than $1 million or the

    3    greater of twice the gross gain or twice the gross loss from

    4    your bank fraud.       Do you understand those maximum possible

    5    sentences and penalties?

    6               THE DEFENDANT:       Yes, Your Honor.

    7               THE COURT:      Any questions for me about those maximums?

    8               THE DEFENDANT:       No, Your Honor.

    9               THE COURT:      Lastly on this topic, at your sentencing

   10    hearing, I will enter an order requiring you to pay a special

   11    victim's fund assessment of $100.            Do you understand this

   12    requirement also?

   13               THE DEFENDANT:       Yes, Your Honor.

   14               THE COURT:      Now, Mr. Williams, please understand that

   15    your felony conviction in this case in all probability will

   16    cause you to suffer, perhaps personally, politically, socially,

   17    financially, or otherwise.          Do you understand that?

   18               THE DEFENDANT:       Yes, Your Honor.

   19               THE COURT:      This felony conviction will undoubtedly

   20    cause you to lose certain civil rights, including the right

   21    ever to possess or use a firearm, the right to vote, the right

   22    to hold an elective office, and the right to serve on any type

   23    of jury.     Do you understand these probable adverse consequences

   24    to you?

   25               THE DEFENDANT:       Yes, Your Honor.



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    1               THE COURT:      Now, important to me, Mr. Williams, have

    2    you reviewed and discussed with Mr. Gallagher the direct and

    3    collateral consequences that you may experience as a result of

    4    this felony conviction in this case?

    5               THE DEFENDANT:       Yes, Your Honor.

    6               THE COURT:      And do you now have any questions for me

    7    about any of those possible consequences to you?

    8               THE DEFENDANT:       No, Your Honor.

    9               THE COURT:      Mr. Williams, importantly, has anyone

   10    forced you or threatened you to participate in this Plea

   11    Agreement or to enter a plea of guilty to the crime of bank

   12    fraud charged in Count 1 of the Indictment?

   13               THE DEFENDANT:       No, Your Honor.

   14               THE COURT:      Has anyone, including your attorney,

   15    Mr. Gallagher, made any promises or representations to you

   16    about your case, your Plea Agreement, or my sentence, things of

   17    which I'm now unaware?

   18               THE DEFENDANT:       No, Your Honor.

   19               THE COURT:      In your opinion, Mr. Williams, and I don't

   20    care about anybody else's for the moment, have you now had

   21    sufficient time to read, review, discuss, and consider your

   22    written Plea Agreement?

   23               THE DEFENDANT:       Yes, Your Honor.

   24               THE COURT:      Have you also now had sufficient time to

   25    review and discuss your written Plea Agreement carefully and



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    1    thoroughly with Mr. Gallagher?

    2               THE DEFENDANT:       Yes, Your Honor.

    3               THE COURT:      Have you discussed with Mr. Gallagher your

    4    defense or defenses, if any, in this case?

    5               THE DEFENDANT:       No, Your Honor.

    6               THE COURT:      Have you discussed with Mr. Gallagher what

    7    you could reasonably expect to happen at a trial had you

    8    elected to proceed to trial?

    9               THE DEFENDANT:       Yes, Your Honor.

   10               THE COURT:      And have you discussed with Mr. Gallagher

   11    all of the other options and alternatives that you have in this

   12    case other than this specific Plea Agreement which you and I

   13    are discussing?

   14               THE DEFENDANT:       Yes, Your Honor.

   15               THE COURT:      All things considered, Mr. Williams,

   16    albeit in an imperfect world, is this Plea Agreement, the one

   17    stated in the originals of Court's Exhibits 1 and 2, the option

   18    that you now want and choose to resolve this case and these

   19    charges against you?

   20               THE DEFENDANT:       Yes, Your Honor.

   21               THE COURT:      Now, in your case generally and during

   22    this hearing and concerning your Plea Agreement specifically,

   23    you've been represented by your attorney, Mr. Michael

   24    Gallagher, who remains by your side with you at the podium.

   25    Are you satisfied with Mr. Gallagher as your attorney?



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    1               THE DEFENDANT:       Yes, Your Honor.

    2               THE COURT:      Has he answered all of your questions, if

    3    any?

    4               THE DEFENDANT:       Yes, Your Honor.

    5               THE COURT:      Has he addressed all of your concerns, if

    6    any?

    7               THE DEFENDANT:       Yes, Your Honor.

    8               THE COURT:      Do you now have any complaints,

    9    criticisms, or objections whatsoever about Mr. Gallagher as

   10    your attorney?

   11               THE DEFENDANT:       No, Your Honor.

   12               THE COURT:      Mr. Williams, having come this far, and

   13    with the assistance of Mr. Gallagher, have you heard me and

   14    understood me?

   15               THE DEFENDANT:       Yes, Your Honor.

   16               THE COURT:      Consistent with the solemn oath you took

   17    at the beginning of this Change of Plea hearing, have you

   18    answered each of my questions completely and honestly?

   19               THE DEFENDANT:       Yes, Your Honor.

   20               THE COURT:      Think hard, not that you haven't been.

   21    But after all of this, do you now have any questions or

   22    concerns that you want me to consider or address?

   23               THE DEFENDANT:       No, Your Honor.

   24               THE COURT:      Thank you.

   25               Counsel, for purposes of the required factual basis



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    1    and subject to your objection, I intend to rely on my file as

    2    constituted and on the record as developed pro tanto now to

    3    include, importantly, my plea colloquy with Mr. Williams this

    4    morning, and the Plea Agreement presented in the originals of

    5    Court's Exhibits 1 and 2.         Any objection by the Government,

    6    Ms. Kaufman?

    7               MS. KAUFMAN:      No, Your Honor.       Thank you.

    8               THE COURT:      You're welcome.

    9               Or by the defense, Mr. Gallagher?

   10               MR. GALLAGHER:       No objection, Your Honor.

   11               THE COURT:      Counsel, I intend to do precisely that.

   12               Counsel, do you need an opportunity now to supplement

   13    the record further for the limited purpose of this Change of

   14    Plea hearing?      Anything further by the Government?

   15               MS. KAUFMAN:      No, Your Honor.

   16               THE COURT:      Anything further by the defense?

   17               MR. GALLAGHER:       No, sir.

   18               THE COURT:      Mr. Gallagher, I, therefore, presume that

   19    Mr. Williams is prepared to be arraigned again on Count 1 of

   20    the Indictment.       Is my presumption correct?

   21               MR. GALLAGHER:       Yes, sir.

   22               THE COURT:      To facilitate this rearraignment, does

   23    Mr. Williams first seek leave of the Court to withdraw his

   24    existing plea of not guilty to Count 1?

   25               MR. GALLAGHER:       Yes, sir.



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    1               THE COURT:      His request is granted.         The existing plea

    2    of not guilty of Mr. Williams to Count 1 of the Indictment is

    3    withdrawn.

    4               Mr. Gallagher, does Mr. Williams demand or waive

    5    further formal arraignment by the Court on Count 1 of the

    6    Indictment?

    7               MR. GALLAGHER:       He waives, Your Honor.

    8               THE COURT:      Very well.

    9               Mr. Williams, we have arrived at that proverbial

   10    moment of truth.       I want you to focus on Count 1 of the

   11    Indictment in which you are charged with bank fraud because

   12    that's the count, that's the crime made the focus of your Plea

   13    Agreement and the subject of our lengthy discussion.

   14               Mr. Williams, I ask you, what plea do you now enter to

   15    the crime charged in Count 1 of the Indictment, the crime of

   16    bank fraud in violation of 18 U.S.C. Section 1344 and 2(b)?

   17    What is your plea, please?

   18               THE DEFENDANT:       Guilty.

   19               THE COURT:      Thank you.

   20               Mr. Williams, for now, you may return to your seat and

   21    be seated.

   22               Mr. Gallagher, before you do and are, would you please

   23    deliver to the courtroom deputy clerk the completed and

   24    executed originals of Court's Exhibits 1 and 2.

   25               MR. GALLAGHER:       Yes, Your Honor.



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    1               THE COURT:      And I thank you.

    2               Please be seated, Counsel.          Thank you.

    3               Very well.      As soon as practicable, but mercifully for

    4    all of us not now, I will enter electronically findings of fact

    5    and conclusions of law commensurate with the record developed

    6    during this Change of Plea hearing.

    7               However, in reliance on those anticipated findings and

    8    conclusions, it is now ordered as follows:

    9               That the originals of Court's Exhibits 1 and 2 shall

   10    be included in the Court's CM/ECF system because they state and

   11    represent the Plea Agreement of these parties.

   12               That the plea of guilty entered by Mr. Williams

   13    pursuant to his Plea Agreement to Count 1 of the Indictment is

   14    received, accepted, and approved.

   15               That, accordingly, Mr. Williams is now found guilty of

   16    the crime charged in Count 1 of the Indictment, the crime of

   17    bank fraud, in violation of 18 U.S.C. Section 1344 and 2(b).

   18               That as required by 18 U.S.C. Section 3552 and Federal

   19    Rules of Criminal Procedure 32(c) and (d), the probation

   20    department shall conduct a presentence investigation and file a

   21    presentence report.

   22               That Mr. Gallagher, as counsel for Mr. Williams, shall

   23    contact the probation department as soon as practicable

   24    following the conclusion of this hearing to arrange, schedule,

   25    and coordinate the participation of Mr. Williams in the



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    1    required presentence investigation.

    2               Mr. Gallagher, I inquire for the record, but I suspect

    3    rhetorically.      Will you do that?

    4               MR. GALLAGHER:       Yes, sir.

    5               THE COURT:      That Mr. Williams shall cooperate fully

    6    with the probation department during his presentence

    7    investigation.

    8               THE DEFENDANT:       Yes, Your Honor.

    9               THE COURT:      Mr. Williams, will you do that?

   10               THE DEFENDANT:       Yes, Your Honor.

   11               THE COURT:      Thank you.

   12               That, for the record, any pending nonCJA pretrial

   13    motion filed by or on behalf of Mr. Williams is now denied.

   14               And that by ostensible agreement of all, this case is

   15    continued for sentencing to April 6, 2017, commencing at 10:00

   16    a.m.

   17               MR. GALLAGHER:       Your Honor, may I make a request about

   18    that date?

   19               THE COURT:      You may.

   20               MR. GALLAGHER:       I have not discussed this with counsel

   21    for the Government.        This was raised by Mr. Williams.

   22               THE COURT:      You're about to begin the discussion.

   23               MR. GALLAGHER:       Yes.   If you may have noticed him

   24    limping to the podium, he has some medical problems, including

   25    a hernia and some other things.           He's been told that -- he's



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    1    been in custody on this matter nearly a year and they're likely

    2    to be taking care of some of these medical issues in the next

    3    bit of time.      So he tells me that one of the counselors he

    4    talked to thinks this may be happening.

    5               Our request would be that the Court consider the

    6    sentencing be set into May to get the medical condition taken

    7    care of.

    8               THE COURT:      Ms. Kaufman?

    9               MS. KAUFMAN:      I have no objection.

   10               THE COURT:      Grab your calendars, please.          We'll reset

   11    it.

   12               Here is what I prefer to do.           As I scan my calendar,

   13    it is horribly congested immediately subsequent to the date and

   14    time that was offered as a tentative date for sentencing.

   15               I propose we preserve the date of April 6, 2017, and

   16    then if Mr. Williams finds himself unable physically or

   17    medically to attend, I'll anticipate his motion to continue and

   18    reset sentencing.

   19               Any objection to, for now, proceeding on that basis?

   20               MS. KAUFMAN:      No, Your Honor.

   21               MR. GALLAGHER:       That's fine, Your Honor.         I'll

   22    investigate whether it will be a problem with that date pretty

   23    promptly.     If we need the change, we'll ask quickly.

   24               THE COURT:      Very well.     Thank you.

   25               That, for now, this matter is continued for sentencing



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    1    hearing to April 6, 2017, commencing at 10:00 a.m., then

    2    mountain daylight time, at which Mr. Williams shall appear

    3    before the Court in this case without further notice or order

    4    of the Court.

    5               Provided further that, to the extent necessary, the

    6    United States Marshal for the District of Colorado shall assist

    7    the Court in securing the appearance of Mr. Williams.

    8               And that pending sentencing or further proceedings,

    9    the custody of Mr. Williams is remanded to the United States

   10    Marshal for continued detention.

   11               All done in open court effective immediately.

   12               Further business by the Government, Ms. Kaufman?

   13               MS. KAUFMAN:      No.    Thank you, Your Honor.

   14               THE COURT:      You're welcome.

   15               Or by the defense, Mr. Gallagher?

   16               MR. GALLAGHER:       No.   Thank you, Your Honor.

   17               THE COURT:      Very well.     Counsel, a pleasure as always.

   18               A special thanks to these deputy United States

   19    Marshals present and serving the Court.             Men, good morning, and

   20    thank you.

   21               Very well.      Please close the record in this case.            The

   22    Court is in recess but, darn it, only until 10:00 a.m.

   23               Madam Clerk.

   24               (Court stood in recess at 9:47 a.m.)

   25



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    1                                * * * * *

    2                           REPORTER'S CERTIFICATE

    3         I certify that the foregoing is a correct transcript from

    4    the record of proceedings in the above-entitled matter.                  Dated

    5    at Denver, Colorado, this 6th day of April, 2018.

    6

    7                                                       S/Tracy Weir
                                                             Tracy Weir
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    1                     IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
    2
         Criminal Action No. 15-CR-00395-REB
    3
         UNITED STATES OF AMERICA,
    4
               Plaintiff,
    5
         vs.
    6
         ALAN ALONZO WILLIAMS,
    7
               Defendant.
    8
         _______________________________________________________________
    9
                                   REPORTER'S TRANSCRIPT
   10                                (Change of Plea)

   11    _______________________________________________________________

   12               Proceedings before the HONORABLE ROBERT E. BLACKBURN,

   13    Judge, United States District Court for the District of

   14    Colorado, commencing at 9:04 a.m., on the 12th day of January,

   15    2017, in Courtroom A1001, United States Courthouse, Denver,

   16    Colorado.

   17

   18

   19

   20

   21

   22

   23

   24     Proceeding Recorded by Mechanical Stenography, Transcription
              Produced via Computer by Tracy Weir, 901 19th Street,
   25           Room A258, Denver, Colorado 80294, (303) 298-1207



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    1                                     APPEARANCES

    2               LINDA KAUFMAN, Assistant U.S. Attorney, 1801

    3    California Street, Suite 1600, Denver, Colorado 80202,

    4    appearing for the plaintiff.

    5               MICHAEL GALLAGHER, Attorney at Law, Davis Graham &

    6    Stubbs, LLP-Denver, 1550 17th Street, Suite 500, Denver,

    7    Colorado 80202, appearing for the defendant.

    8                                   *   *   *   *   *

    9                                     PROCEEDINGS

   10               (In open court at 9:04 a.m.)

   11               THE COURT:     Good morning, and thank you.          Please be

   12    seated.

   13               Very well.     This is case 15-cr-00395, identified as

   14    United States of America versus Alan Alonzo Williams,

   15    defendant.

   16               The matter comes before this Court for change of plea

   17    hearing.    Thus, commencing with the Government and

   18    transitioning to the defense, Counsel, good morning.                May I

   19    have your appearances, please.          Ms. Kaufman.

   20               MS. KAUFMAN:      Good morning, Your Honor.         Linda Kaufman

   21    on behalf of the United States.            With me is Timothy Chase from

   22    the Internal Revenue Service criminal investigations.

   23               THE COURT:     Good morning.

   24               MR. GALLAGHER:      Good morning, Your Honor.         Michael

   25    Gallagher with the defendant, Mr. Williams, who is present



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    1    also.

    2               THE COURT:     Good morning.

    3               I have received, read, and reviewed the proposed Plea

    4    Agreement.     Importantly and initially, it includes the

    5    documents required under the local rules of this United States

    6    District Court.      Thus, there is a Plea Agreement now marked as

    7    Court's Exhibit 1 and a Statement by Defendant in Advance of

    8    Plea of Guilty now marked as Court's Exhibit 2.

    9               Importantly, the originals of Court's Exhibits 1 and 2

   10    should remain with Mr. Williams during this change of plea

   11    hearing.

   12               At this time, I respectfully request that Mr. Williams

   13    and his counsel, Mr. Gallagher, report to the podium, please.

   14    Gentlemen, I thank you both.

   15               Mr. Williams, good morning.          Please raise your right

   16    hand now to be sworn by the Court.           Thank you.

   17               (Defendant sworn.)

   18               THE DEFENDANT:      Yes, Your Honor.

   19               THE COURT:     Mr. Williams, please understand your oath

   20    is important.      Indeed, it is solemn.        Please understand that if

   21    you make a false statement to me during this Change of Plea

   22    hearing, any false statement could be used against you by the

   23    Government in another criminal case and prosecution here in

   24    federal court on such charges as perjury or making a false

   25    statement.     Do you understand that?



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    1               THE DEFENDANT:      Yes, Your Honor.

    2               THE COURT:     This Change of Plea hearing is a

    3    critically important hearing for you in your case so, of

    4    course, please pay close attention.

    5               If you fail to hear or understand something that I say

    6    or ask, or if you have questions or concerns during the

    7    hearing, please make those matters known to me either directly

    8    or with the assistance of your attorney, Mr. Gallagher.                 Will

    9    you do that?

   10               THE DEFENDANT:      Yes, Your Honor.

   11               THE COURT:     Now, during this hearing, I'm going to use

   12    the term "Written Plea Agreement" frequently.              When I do, I'm

   13    referring to your Plea Agreement now in writing in the

   14    originals of Court's Exhibits 1 and 2 which are in your

   15    possession.     Do you understand that?

   16               THE DEFENDANT:      Yes, Your Honor.

   17               THE COURT:     Mr. Williams, how old are you?

   18               THE DEFENDANT:      54 years old.

   19               THE COURT:     How many years of formal education do have

   20    you?

   21               THE DEFENDANT:      14 years, Your Honor.

   22               THE COURT:     Do you have any problems reading, writing,

   23    speaking, or understanding English?

   24               THE DEFENDANT:      No, Your Honor.

   25               THE COURT:     Are you now under the influence of or



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    1    impaired in any way by drugs, narcotics, marijuana, alcohol,

    2    medications, or any intoxicant?

    3               THE DEFENDANT:      No, Your Honor.

    4               THE COURT:     To your knowledge as a layperson, do you

    5    suffer from a mental illness or emotional disability?

    6               THE DEFENDANT:      No, Your Honor.

    7               THE COURT:     Finally, is there anything about the way

    8    you feel this morning physically, emotionally, or otherwise

    9    that prevents you from clearly understanding these proceedings?

   10               THE DEFENDANT:      No, Your Honor.

   11               THE COURT:     Mr. Williams, importantly, are you

   12    prepared to proceed?

   13               THE DEFENDANT:      Yes, Your Honor.

   14               THE COURT:     Your attorney, Mr. Michael Gallagher, is

   15    literally with you by your side at the podium.              Did he have

   16    your authority, permission, and consent to engage in plea

   17    bargaining on your behalf with the attorney for the Government?

   18               THE DEFENDANT:      Yes, Your Honor.

   19               THE COURT:     The operative charging document in this

   20    case is the Indictment returned by the grand jury on October 7,

   21    2015, and docketed as docket No. 1.

   22               Have you received, read, and reviewed that four-count

   23    Indictment carefully and thoroughly?

   24               THE DEFENDANT:      Yes, Your Honor.

   25               THE COURT:     Have you reviewed it and discussed it



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    1    carefully and thoroughly with your attorney?

    2               THE DEFENDANT:      Yes, Your Honor.

    3               THE COURT:     Do you understand that although you are

    4    charged with four counts, your plea of guilty will be to Count

    5    1 of that Indictment?

    6               THE DEFENDANT:      Yes, Your Honor.

    7               THE COURT:     Mr. Gallagher, I inquire, does

    8    Mr. Williams demand or waive a formal reading now by the Court

    9    of the Indictment?

   10               MR. GALLAGHER:      We waive the formal reading, Your

   11    Honor.

   12               THE COURT:     Thank you.

   13               Now, Mr. Williams, please pay close attention as I

   14    state for the record my understanding of the essential terms of

   15    your Plea Agreement.        When I'm finished, I'm going to ask you

   16    and these attorneys to confirm my understanding.

   17               It's no secret.       I'm taking my information about your

   18    Plea Agreement from your Plea Agreement; specifically, Court's

   19    Exhibit 1, the original of which you have with you at the

   20    podium.

   21               It is my understanding, Mr. Williams, that during this

   22    Change of Plea hearing, you will enter an informed, voluntary,

   23    knowing, and unconditional plea of guilty to the crime charged

   24    in Count 1 of the Indictment, the crime of bank fraud in

   25    violation of federal law at Title 18 United States Code Section



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    1    1344 and 2(b).

    2               That you will be convicted of this serious felony

    3    offense of bank fraud.

    4               That at the time of your sentencing hearing, which, of

    5    course, is not today, the Government will move to dismiss with

    6    prejudice, which means forever and irrevocably, all remaining

    7    counts and crimes with which you are charged in the Indictment.

    8               Additionally, the Government will not pursue further

    9    criminal charges against you based on information known to the

   10    office of the United States Attorney for the District of

   11    Colorado as of today's date.

   12               The Government also agrees to recommend a sentence to

   13    imprisonment within the applicable advisory sentencing

   14    guideline range once properly determined by this Court,

   15    excluding any downward departure.

   16               I'm moving to page 2.

   17               You and the Government agree that restitution is

   18    mandatory, and that restitution in this case is in the amount

   19    of $1,146,828.28.

   20               That subject only to the exceptions stated expressly

   21    in your Plea Agreement, you are waiving your right to appeal

   22    any sentence that I impose and your right to collaterally

   23    attack later any component of your prosecution, conviction, and

   24    sentencing.

   25               Lastly, but important to both you and me, the sentence



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    1    to be imposed has been entrusted to my judgment and discretion

    2    as the judge in your case.

    3               This is my understanding of the Plea Agreement.               Is it

    4    correct from the perspective of Government, Ms. Kaufman?

    5               MS. KAUFMAN:      Yes, Your Honor.

    6               THE COURT:     And from of that the defense,

    7    Mr. Gallagher?

    8               MR. GALLAGHER:      Yes, sir.

    9               THE COURT:     Mr. Williams, from your unique perspective

   10    as the defendant, the person charged in this criminal case in

   11    federal court, have I got it right?           Have I completely and

   12    accurately stated the essential terms of your Plea Agreement?

   13               THE DEFENDANT:      Yes, Your Honor.

   14               THE COURT:     Now, Mr. Williams, I direct your attention

   15    to your Plea Agreement in writing in the originals of Court's

   16    Exhibits 1 and 2 which remain in your possession.               Have you

   17    read your written Plea Agreement in its entirety?

   18               THE DEFENDANT:      Yes, Your Honor.

   19               THE COURT:     Word for word?

   20               THE DEFENDANT:      Yes, Your Honor.

   21               THE COURT:     Did you then understand and do you now

   22    understand what you read?

   23               THE DEFENDANT:      Yes, Your Honor.

   24               THE COURT:     Have you reviewed and discussed your

   25    written Plea Agreement in its entirety carefully and thoroughly



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    1    with your attorney, Mr. Gallagher?

    2               THE DEFENDANT:      Yes, Your Honor.

    3               THE COURT:     Are you now satisfied and confident that

    4    you understand everything in your written Plea Agreement?

    5               THE DEFENDANT:      Yes, Your Honor.

    6               THE COURT:     Conversely, do you now have any questions

    7    or concerns about anything in your written Plea Agreement?

    8               THE DEFENDANT:      No, Your Honor.

    9               THE COURT:     Importantly, have you executed, or signed,

   10    your written Plea Agreement, speaking of the originals of

   11    Court's Exhibits 1 and 2?

   12               THE DEFENDANT:      Yes, Your Honor.

   13               THE COURT:     When you signed your written Plea

   14    Agreement, did you do so voluntarily?

   15               THE DEFENDANT:      Yes, Your Honor.

   16               THE COURT:     Did you then also have the benefit of the

   17    advice and assistance of your attorney, Mr. Gallagher?

   18               THE DEFENDANT:      Yes, Your Honor.

   19               THE COURT:     Mr. Williams, most importantly, are you

   20    now formally requesting that this Court receive, accept, and

   21    approve your Plea Agreement as stated in writing in the

   22    originals of Court's Exhibits 1 and 2?

   23               THE DEFENDANT:      Yes, Your Honor.

   24               THE COURT:     Mr. Williams, as the defendant; again, the

   25    individual charged in this criminal case in federal court, you



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    1    have many important constitutional and legal rights and

    2    privileges.      Do you understand that?

    3               THE DEFENDANT:       Yes, Your Honor.

    4               THE COURT:      Have you reviewed and discussed your

    5    important legal rights carefully and thoroughly with

    6    Mr. Gallagher?

    7               THE DEFENDANT:       Yes, Your Honor.

    8               THE COURT:      Nevertheless, please be patient and

    9    attentive as I advise you of your important legal rights.

   10               Mr. Williams, you have the right to be represented at

   11    all times in these criminal proceedings in federal court by an

   12    attorney.     If you want one but cannot retain one or afford one,

   13    the Court will appoint an attorney to represent you at the

   14    expense of the Government.

   15               You also have the associated legal right to the

   16    effective, or competent, assistance of your legal counsel.

   17               You have the right to enter a plea of not guilty to

   18    any crime with which you are charged by Indictment in this

   19    case, and even now, right now, you have the right to persist

   20    with your existing pleas of not guilty.             In other words, no one

   21    can force or compel you to enter a plea of guilty to anything.

   22               In this criminal case in federal court, the

   23    Government, Ms. Kaufman, not you, the defendant, has the burden

   24    of proof, which requires for a conviction proof beyond a

   25    reasonable doubt, which is the highest standard of proof in our



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    1    federal criminal justice system.

    2               This means, among other things, Mr. Williams, that as

    3    the defendant, you are not expected or required to prove

    4    anything in this case, including and especially your own

    5    innocence.

    6               You have an absolute right to remain silent, and no

    7    one can force or compel you to testify against yourself or to

    8    incriminate yourself.

    9               You, of course, have the right to a trial to a jury

   10    consisting of not less than 12 of our citizens whose verdict or

   11    verdicts must be unanimous.

   12               You have the right to a speedy trial as defined under

   13    our Constitution and the Speedy Trial Act of 1974.

   14               If your case went to trial, and it is not because of

   15    this Plea Agreement, you have the right to require the

   16    Government to prove each element required by law for the

   17    commission and conviction of the crime of bank fraud beyond a

   18    reasonable doubt.

   19               At trial, you have the right, with the help of your

   20    attorney, to cross-examine all witnesses called against you by

   21    the Government.

   22               At trial, once the Government presents its evidence

   23    against you, you have the right to choose, either to testify in

   24    your own behalf as a part of your defense, or to say nothing at

   25    all, to remain absolutely silent, in which case at your request



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    1    I would instruct your jurors that they may not use your silence

    2    against you in any way during your trial.

    3               At trial, you have the right to call your own

    4    witnesses, compelling their attendance, if necessary, by court

    5    ordered and issued subpoenas.

    6               At trial, you have the right to present your own

    7    evidence, the right to present a defense, and under our system,

    8    if you are financially unable to make that important

    9    presentation, don't worry.          It will be made, but at the expense

   10    of the Government.

   11               Finally, if after a trial you are convicted and

   12    sentenced, then you have the right to appeal to a court higher

   13    than this Court.       Do you understand each of these important

   14    legal rights that you have in your case?

   15               THE DEFENDANT:       Yes, Your Honor.

   16               THE COURT:      Do you have any questions now for me about

   17    any of your legal rights?

   18               THE DEFENDANT:       No, Your Honor.

   19               THE COURT:      Please understand next, with the exception

   20    of the important right to an attorney, even if indigent, when

   21    you enter your plea of guilty during this hearing to the crime

   22    of bank fraud charged in Count 1 of the Indictment, you are

   23    waiving, giving up now and forever, your other important legal

   24    rights, including your right to a trial to a jury.                Do you both

   25    understand and accept that important part of your Plea



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    1    Agreement?

    2               THE DEFENDANT:       Yes, Your Honor.

    3               THE COURT:      Your Plea Agreement in Court's Exhibit 1

    4    contains what we call a waiver of appeal, which is presented on

    5    page 2 of Court's Exhibit 1.          Let's discuss that waiver.

    6               Ordinarily, you would have the right to appeal to a

    7    higher court not only any sentence I imposed on you, but the

    8    manner in which I determined that sentence.              Do you understand

    9    that?

   10               THE DEFENDANT:       Yes, Your Honor.

   11               THE COURT:      However, in your Plea Agreement, you are

   12    waiving, or giving up, that important right subject only to the

   13    three exceptions stated expressly in subparagraph 5.                 Do you

   14    understand and accept that important part of your Plea

   15    Agreement?

   16               THE DEFENDANT:       Yes, Your Honor.

   17               THE COURT:      Then let us discuss those three

   18    exceptions.

   19               Exception No. 1.       If at your sentencing hearing, for

   20    some incomprehensible reason, I attempt to impose a sentence

   21    greater than that authorized by law -- that's not likely to

   22    happen -- but if I do, you would then have the right to appeal

   23    such an obviously illegal sentence to a higher court.                 Do you

   24    understand this first exception?

   25               THE DEFENDANT:       Yes, Your Honor.



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    1               THE COURT:      Exception No. 2.       If the sentence I impose

    2    exceeds the maximum sentence within the advisory sentencing

    3    guideline range that applies to a total offense level of 20,

    4    then you may appeal your sentence to a higher court.                 Do you

    5    understand this second exception?

    6               THE DEFENDANT:       Yes, Your Honor.

    7               THE COURT:      Finally, exception No. 3.         If the

    8    Government appeals the sentence I impose, then you may appeal

    9    the sentence I impose.         In fact, you may then appeal on any

   10    ground that is properly available to you following the entry of

   11    a plea of guilty.       Do you understand this third exception?

   12               THE DEFENDANT:       Yes, Your Honor.

   13               THE COURT:      Let's move on.      Ordinarily, albeit in

   14    extremely limited factual and legal circumstances, and in a

   15    relatively short period of time, you may be able to bring a

   16    special legal proceeding attacking the legality of your

   17    prosecution and/or your conviction and/or your sentencing.                  Do

   18    you understand that?

   19               THE DEFENDANT:       Yes, Your Honor.

   20               THE COURT:      However, in your Plea Agreement, you are

   21    waiving, or giving up, that right to bring such a collateral

   22    attack; again, subject only to the three exceptions expressly

   23    stated in subparagraph 6 of your Plea Agreement.                Do you

   24    understand and accept this important part of your Plea

   25    Agreement?



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    1               THE DEFENDANT:       Yes, Your Honor.

    2               THE COURT:      As before, let's focus on the three

    3    exceptions.      Exception No. 1.      If, after I impose sentence on

    4    you, the law changes in your favor and is made retroactive to

    5    the time of your sentencing, then you might be able to bring a

    6    special legal proceeding to receive a reduced, or lesser,

    7    sentence.     Do you understand this first exception?

    8               THE DEFENDANT:       Yes, Your Honor.

    9               THE COURT:      Exception No. 2.       If you have a claim that

   10    your attorney was ineffective or incompetent in violation of

   11    your constitutional rights, then you might be able to bring a

   12    special legal proceeding to correct that constitutional

   13    violation.     Do you understand this second exception?

   14               THE DEFENDANT:       Yes, Your Honor.

   15               THE COURT:      Exception No. 3.       If you have a claim that

   16    the Government, during your prosecution, engaged in misconduct

   17    so extreme that it violated your constitutional rights, then

   18    you might be able to bring a special legal proceeding to

   19    correct that constitutional violation.             Do you understand that

   20    third exception?

   21               THE DEFENDANT:       Yes, Your Honor.

   22               THE COURT:      Any questions for me about the waiver

   23    appeal provisions in subparagraphs 5 and 6 on page 2 of Court's

   24    Exhibit 1?

   25               THE DEFENDANT:       No, Your Honor.



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    1               THE COURT:      Now, please remain in Court's Exhibit 1

    2    where I direct your attention to --

    3               MR. GALLAGHER:       Your Honor, he was asking me a

    4    question.     May I have just a second?

    5               THE COURT:      You may.    Thank you.      I had my head down.

    6         (Pause in proceedings.)

    7               MR. GALLAGHER:       Thank you, Your Honor.

    8               THE COURT:      You're welcome.

    9               Mr. Williams, next I want to discuss with you that

   10    which is described in your Plea Agreement as elements of the

   11    offense.     That important information appears in Court's Exhibit

   12    1 on page 3 under II, aptly entitled "Elements of the Offense."

   13               By elements of the offense, your Plea Agreement is

   14    describing those elements, those things, facts, conditions, and

   15    circumstances required by federal law for the commission and

   16    conviction of the crime of bank fraud, which is now made the

   17    focus of your Plea Agreement, and because there will be no

   18    trial it describes those elements that you are admitting

   19    unconditionally when you enter your plea of guilty to bank

   20    fraud later in this hearing.          Do you understand what I mean by

   21    elements of the offense?

   22               THE DEFENDANT:       Yes, Your Honor.

   23               THE COURT:      The elements required by federal law for

   24    the commission and conviction of bank fraud as you are charged

   25    in Count 1 of the Indictment are as follows:



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    1               One.    That you, the defendant, knowingly executed or

    2    attempted to execute a scheme or artifice to defraud a

    3    financial institution or to obtain money or property from the

    4    financial institution by means of false or fraudulent

    5    pretenses, representations, or promises.

    6               Two.    The target financial institution was an

    7    institution, the deposits in which were insured by the FDIC.

    8               Three.     That you acted with the intent to defraud.

    9               Four.    The false or fraudulent pretenses,

   10    representations, or promises that you made or willfully caused

   11    another to make were material, meaning that they would

   12    naturally tend to influence or were capable of influencing the

   13    decision of the target financial institution.               Do you

   14    understand each and all of these four elements required by

   15    federal law for the commission and conviction of the crime of

   16    bank fraud with which you are charged in Count 1 of the

   17    Indictment?

   18               THE DEFENDANT:       Yes, Your Honor.

   19               THE COURT:      Any questions for me about any one or more

   20    of these essential elements?

   21               THE DEFENDANT:       No, Your Honor.

   22               THE COURT:      Thank you.     Please remain in Court's

   23    Exhibit 1 where I now direct your attention to page 4;

   24    specifically, to V, "Stipulation of Facts."              This part V of

   25    your Plea Agreement begins on page 4, continues for several



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    1    pages, and concludes eventually at the top of page 14.

    2               Mr. Williams, I have five important questions for you

    3    about this part V of your Plea Agreement.              Question No. 1.

    4    Have you read this part V of your Plea Agreement in its

    5    entirety?

    6               THE DEFENDANT:       Yes, Your Honor.

    7               THE COURT:      Word for word?

    8               THE DEFENDANT:       Yes, Your Honor.

    9               THE COURT:      Question No. 2.      Did you then understand

   10    and do you now understand what you read in part V of your Plea

   11    Agreement?

   12               THE DEFENDANT:       Yes, Your Honor.

   13               THE COURT:      Question No. 3.      Have you reviewed and

   14    discussed this part V of your Plea Agreement carefully and

   15    thoroughly with your attorney, Mr. Gallagher?

   16               THE DEFENDANT:       Yes, Your Honor.

   17               THE COURT:      Question No. 4.      Are the facts stated in

   18    part V of your Plea Agreement complete and accurate, from your

   19    perspective and in your opinion?

   20               THE DEFENDANT:       Yes, Your Honor.

   21               THE COURT:      Finally, and importantly, question No. 5.

   22    Mr. Williams, did you do the things that are stated as fact in

   23    this part V of your Plea Agreement?

   24               THE DEFENDANT:       Yes, Your Honor.

   25               THE COURT:      Very well.     Let us discuss sentencing.          I



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    1    begin by reiterating that under the terms of your Plea

    2    Agreement, the sentence to be imposed has been entrusted to my

    3    judgment and discretion as the judge in your case.                Do you both

    4    understand and accept this important part of your Plea

    5    Agreement?

    6               THE DEFENDANT:       Yes, Your Honor.

    7               THE COURT:      This means, Mr. Williams, that I will not

    8    be bound necessarily, either now, right now, or later at the

    9    time of your sentencing hearing, by what anyone may have told

   10    you, promised you, or predicted for you about the sentence that

   11    I will impose.      Do you understand that?

   12               THE DEFENDANT:       Yes, Your Honor.

   13               THE COURT:      Instead, under the terms of your Plea

   14    Agreement, I may impose any sentence permitted by law up to and

   15    including the maximum sentence and penalty authorized by law.

   16    Do you understand that?

   17               THE DEFENDANT:       Yes, Your Honor.

   18               THE COURT:      Please understand next that in my

   19    consideration and eventual imposition of sentence on you, I

   20    must consider several important factors.             First, I must

   21    consider the goals and purposes of the federal sentencing

   22    statute.     Second, I must consider carefully the provisions of

   23    the now advisory United States Sentencing Guidelines as they

   24    apply to you, your history and characteristics, the crime of

   25    bank fraud in Count 1, its nature and circumstances, and then



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    1    all other relevant conduct.          Third, I must consider and resolve

    2    any motion for a sentence departure or a sentence variance,

    3    whether upward or downward.          Finally, I must consider carefully

    4    certain individual sentencing needs found in our federal

    5    sentencing statute.

    6               Now, there's not going to be a test on those, but do

    7    you, in a general way, understand those important factors?

    8               THE DEFENDANT:       Yes, Your Honor.

    9               THE COURT:      Now, I really said all of that to conclude

   10    by saying this.       At your sentencing hearing, if I reject any

   11    recommendation that is good for you, or if I deny any motion

   12    that is good for you, other than the Government's obligatory

   13    motion to dismiss with prejudice the other counts of the

   14    Indictment, or if I impose any sentence or penalty with which

   15    you disagree or object, listen carefully, you may not then

   16    withdraw or take back the plea of guilty you enter this

   17    morning.     Do you understand this clearly and completely?

   18               THE DEFENDANT:       Yes, Your Honor.

   19               THE COURT:      Now, I must advise you concerning the

   20    maximum possible sentences and penalties, or as I often say,

   21    the worst case scenario.

   22               At your sentencing hearing, for a conviction of bank

   23    fraud as charged in Count 1 of the Indictment, I could sentence

   24    you to a term of imprisonment up to 30 years, 360 months, which

   25    could be followed by an additional term of supervised release



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    1    of not more than five years, 60 months, and/or I could impose a

    2    fine of, in the alternative, not more than $1 million or the

    3    greater of twice the gross gain or twice the gross loss from

    4    your bank fraud.       Do you understand those maximum possible

    5    sentences and penalties?

    6               THE DEFENDANT:       Yes, Your Honor.

    7               THE COURT:      Any questions for me about those maximums?

    8               THE DEFENDANT:       No, Your Honor.

    9               THE COURT:      Lastly on this topic, at your sentencing

   10    hearing, I will enter an order requiring you to pay a special

   11    victim's fund assessment of $100.            Do you understand this

   12    requirement also?

   13               THE DEFENDANT:       Yes, Your Honor.

   14               THE COURT:      Now, Mr. Williams, please understand that

   15    your felony conviction in this case in all probability will

   16    cause you to suffer, perhaps personally, politically, socially,

   17    financially, or otherwise.          Do you understand that?

   18               THE DEFENDANT:       Yes, Your Honor.

   19               THE COURT:      This felony conviction will undoubtedly

   20    cause you to lose certain civil rights, including the right

   21    ever to possess or use a firearm, the right to vote, the right

   22    to hold an elective office, and the right to serve on any type

   23    of jury.     Do you understand these probable adverse consequences

   24    to you?

   25               THE DEFENDANT:       Yes, Your Honor.



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    1               THE COURT:      Now, important to me, Mr. Williams, have

    2    you reviewed and discussed with Mr. Gallagher the direct and

    3    collateral consequences that you may experience as a result of

    4    this felony conviction in this case?

    5               THE DEFENDANT:       Yes, Your Honor.

    6               THE COURT:      And do you now have any questions for me

    7    about any of those possible consequences to you?

    8               THE DEFENDANT:       No, Your Honor.

    9               THE COURT:      Mr. Williams, importantly, has anyone

   10    forced you or threatened you to participate in this Plea

   11    Agreement or to enter a plea of guilty to the crime of bank

   12    fraud charged in Count 1 of the Indictment?

   13               THE DEFENDANT:       No, Your Honor.

   14               THE COURT:      Has anyone, including your attorney,

   15    Mr. Gallagher, made any promises or representations to you

   16    about your case, your Plea Agreement, or my sentence, things of

   17    which I'm now unaware?

   18               THE DEFENDANT:       No, Your Honor.

   19               THE COURT:      In your opinion, Mr. Williams, and I don't

   20    care about anybody else's for the moment, have you now had

   21    sufficient time to read, review, discuss, and consider your

   22    written Plea Agreement?

   23               THE DEFENDANT:       Yes, Your Honor.

   24               THE COURT:      Have you also now had sufficient time to

   25    review and discuss your written Plea Agreement carefully and



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    1    thoroughly with Mr. Gallagher?

    2               THE DEFENDANT:       Yes, Your Honor.

    3               THE COURT:      Have you discussed with Mr. Gallagher your

    4    defense or defenses, if any, in this case?

    5               THE DEFENDANT:       Yes, Your Honor.

    6               THE COURT:      Have you discussed with Mr. Gallagher what

    7    you could reasonably expect to happen at a trial had you

    8    elected to proceed to trial?

    9               THE DEFENDANT:       Yes, Your Honor.

   10               THE COURT:      And have you discussed with Mr. Gallagher

   11    all of the other options and alternatives that you have in this

   12    case other than this specific Plea Agreement which you and I

   13    are discussing?

   14               THE DEFENDANT:       Yes, Your Honor.

   15               THE COURT:      All things considered, Mr. Williams,

   16    albeit in an imperfect world, is this Plea Agreement, the one

   17    stated in the originals of Court's Exhibits 1 and 2, the option

   18    that you now want and choose to resolve this case and these

   19    charges against you?

   20               THE DEFENDANT:       Yes, Your Honor.

   21               THE COURT:      Now, in your case generally and during

   22    this hearing and concerning your Plea Agreement specifically,

   23    you've been represented by your attorney, Mr. Michael

   24    Gallagher, who remains by your side with you at the podium.

   25    Are you satisfied with Mr. Gallagher as your attorney?



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    1               THE DEFENDANT:       Yes, Your Honor.

    2               THE COURT:      Has he answered all of your questions, if

    3    any?

    4               THE DEFENDANT:       Yes, Your Honor.

    5               THE COURT:      Has he addressed all of your concerns, if

    6    any?

    7               THE DEFENDANT:       Yes, Your Honor.

    8               THE COURT:      Do you now have any complaints,

    9    criticisms, or objections whatsoever about Mr. Gallagher as

   10    your attorney?

   11               THE DEFENDANT:       No, Your Honor.

   12               THE COURT:      Mr. Williams, having come this far, and

   13    with the assistance of Mr. Gallagher, have you heard me and

   14    understood me?

   15               THE DEFENDANT:       Yes, Your Honor.

   16               THE COURT:      Consistent with the solemn oath you took

   17    at the beginning of this Change of Plea hearing, have you

   18    answered each of my questions completely and honestly?

   19               THE DEFENDANT:       Yes, Your Honor.

   20               THE COURT:      Think hard, not that you haven't been.

   21    But after all of this, do you now have any questions or

   22    concerns that you want me to consider or address?

   23               THE DEFENDANT:       No, Your Honor.

   24               THE COURT:      Thank you.

   25               Counsel, for purposes of the required factual basis



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    1    and subject to your objection, I intend to rely on my file as

    2    constituted and on the record as developed pro tanto now to

    3    include, importantly, my plea colloquy with Mr. Williams this

    4    morning, and the Plea Agreement presented in the originals of

    5    Court's Exhibits 1 and 2.         Any objection by the Government,

    6    Ms. Kaufman?

    7               MS. KAUFMAN:      No, Your Honor.       Thank you.

    8               THE COURT:      You're welcome.

    9               Or by the defense, Mr. Gallagher?

   10               MR. GALLAGHER:       No objection, Your Honor.

   11               THE COURT:      Counsel, I intend to do precisely that.

   12               Counsel, do you need an opportunity now to supplement

   13    the record further for the limited purpose of this Change of

   14    Plea hearing?      Anything further by the Government?

   15               MS. KAUFMAN:      No, Your Honor.

   16               THE COURT:      Anything further by the defense?

   17               MR. GALLAGHER:       No, sir.

   18               THE COURT:      Mr. Gallagher, I, therefore, presume that

   19    Mr. Williams is prepared to be arraigned again on Count 1 of

   20    the Indictment.       Is my presumption correct?

   21               MR. GALLAGHER:       Yes, sir.

   22               THE COURT:      To facilitate this rearraignment, does

   23    Mr. Williams first seek leave of the Court to withdraw his

   24    existing plea of not guilty to Count 1?

   25               MR. GALLAGHER:       Yes, sir.



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    1               THE COURT:      His request is granted.         The existing plea

    2    of not guilty of Mr. Williams to Count 1 of the Indictment is

    3    withdrawn.

    4               Mr. Gallagher, does Mr. Williams demand or waive

    5    further formal arraignment by the Court on Count 1 of the

    6    Indictment?

    7               MR. GALLAGHER:       He waives, Your Honor.

    8               THE COURT:      Very well.

    9               Mr. Williams, we have arrived at that proverbial

   10    moment of truth.       I want you to focus on Count 1 of the

   11    Indictment in which you are charged with bank fraud because

   12    that's the count, that's the crime made the focus of your Plea

   13    Agreement and the subject of our lengthy discussion.

   14               Mr. Williams, I ask you, what plea do you now enter to

   15    the crime charged in Count 1 of the Indictment, the crime of

   16    bank fraud in violation of 18 U.S.C. Section 1344 and 2(b)?

   17    What is your plea, please?

   18               THE DEFENDANT:       Guilty.

   19               THE COURT:      Thank you.

   20               Mr. Williams, for now, you may return to your seat and

   21    be seated.

   22               Mr. Gallagher, before you do and are, would you please

   23    deliver to the courtroom deputy clerk the completed and

   24    executed originals of Court's Exhibits 1 and 2.

   25               MR. GALLAGHER:       Yes, Your Honor.



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    1               THE COURT:      And I thank you.

    2               Please be seated, Counsel.          Thank you.

    3               Very well.      As soon as practicable, but mercifully for

    4    all of us not now, I will enter electronically findings of fact

    5    and conclusions of law commensurate with the record developed

    6    during this Change of Plea hearing.

    7               However, in reliance on those anticipated findings and

    8    conclusions, it is now ordered as follows:

    9               That the originals of Court's Exhibits 1 and 2 shall

   10    be included in the Court's CM/ECF system because they state and

   11    represent the Plea Agreement of these parties.

   12               That the plea of guilty entered by Mr. Williams

   13    pursuant to his Plea Agreement to Count 1 of the Indictment is

   14    received, accepted, and approved.

   15               That, accordingly, Mr. Williams is now found guilty of

   16    the crime charged in Count 1 of the Indictment, the crime of

   17    bank fraud, in violation of 18 U.S.C. Section 1344 and 2(b).

   18               That as required by 18 U.S.C. Section 3552 and Federal

   19    Rules of Criminal Procedure 32(c) and (d), the probation

   20    department shall conduct a presentence investigation and file a

   21    presentence report.

   22               That Mr. Gallagher, as counsel for Mr. Williams, shall

   23    contact the probation department as soon as practicable

   24    following the conclusion of this hearing to arrange, schedule,

   25    and coordinate the participation of Mr. Williams in the



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    1    required presentence investigation.

    2               Mr. Gallagher, I inquire for the record, but I suspect

    3    rhetorically.      Will you do that?

    4               MR. GALLAGHER:       Yes, sir.

    5               THE COURT:      That Mr. Williams shall cooperate fully

    6    with the probation department during his presentence

    7    investigation.

    8               THE DEFENDANT:       Yes, Your Honor.

    9               THE COURT:      Mr. Williams, will you do that?

   10               THE DEFENDANT:       Yes, Your Honor.

   11               THE COURT:      Thank you.

   12               That, for the record, any pending nonCJA pretrial

   13    motion filed by or on behalf of Mr. Williams is now denied.

   14               And that by ostensible agreement of all, this case is

   15    continued for sentencing to April 6, 2017, commencing at 10:00

   16    a.m.

   17               MR. GALLAGHER:       Your Honor, may I make a request about

   18    that date?

   19               THE COURT:      You may.

   20               MR. GALLAGHER:       I have not discussed this with counsel

   21    for the Government.        This was raised by Mr. Williams.

   22               THE COURT:      You're about to begin the discussion.

   23               MR. GALLAGHER:       Yes.   If you may have noticed him

   24    limping to the podium, he has some medical problems, including

   25    a hernia and some other things.           He's been told that -- he's



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    1    been in custody on this matter nearly a year and they're likely

    2    to be taking care of some of these medical issues in the next

    3    bit of time.      So he tells me that one of the counselors he

    4    talked to thinks this may be happening.

    5               Our request would be that the Court consider the

    6    sentencing be set into May to get the medical condition taken

    7    care of.

    8               THE COURT:      Ms. Kaufman?

    9               MS. KAUFMAN:      I have no objection.

   10               THE COURT:      Grab your calendars, please.          We'll reset

   11    it.

   12               Here is what I prefer to do.           As I scan my calendar,

   13    it is horribly congested immediately subsequent to the date and

   14    time that was offered as a tentative date for sentencing.

   15               I propose we preserve the date of April 6, 2017, and

   16    then if Mr. Williams finds himself unable physically or

   17    medically to attend, I'll anticipate his motion to continue and

   18    reset sentencing.

   19               Any objection to, for now, proceeding on that basis?

   20               MS. KAUFMAN:      No, Your Honor.

   21               MR. GALLAGHER:       That's fine, Your Honor.         I'll

   22    investigate whether it will be a problem with that date pretty

   23    promptly.     If we need the change, we'll ask quickly.

   24               THE COURT:      Very well.     Thank you.

   25               That, for now, this matter is continued for sentencing



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    1    hearing to April 6, 2017, commencing at 10:00 a.m., then

    2    mountain daylight time, at which Mr. Williams shall appear

    3    before the Court in this case without further notice or order

    4    of the Court.

    5               Provided further that, to the extent necessary, the

    6    United States Marshal for the District of Colorado shall assist

    7    the Court in securing the appearance of Mr. Williams.

    8               And that pending sentencing or further proceedings,

    9    the custody of Mr. Williams is remanded to the United States

   10    Marshal for continued detention.

   11               All done in open court effective immediately.

   12               Further business by the Government, Ms. Kaufman?

   13               MS. KAUFMAN:      No.    Thank you, Your Honor.

   14               THE COURT:      You're welcome.

   15               Or by the defense, Mr. Gallagher?

   16               MR. GALLAGHER:       No.   Thank you, Your Honor.

   17               THE COURT:      Very well.     Counsel, a pleasure as always.

   18               A special thanks to these deputy United States

   19    Marshals present and serving the Court.             Men, good morning, and

   20    thank you.

   21               Very well.      Please close the record in this case.            The

   22    Court is in recess but, darn it, only until 10:00 a.m.

   23               Madam Clerk.

   24               (Court stood in recess at 9:47 a.m.)

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    1                                * * * * *

    2                           REPORTER'S CERTIFICATE

    3         I certify that the foregoing is a correct transcript from

    4    the record of proceedings in the above-entitled matter.                  Dated

    5    at Denver, Colorado, this 6th day of April, 2018.

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    7                                                       S/Tracy Weir
                                                             Tracy Weir
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      1                         UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLORADO
      2

      3   UNITED STATES OF AMERICA,         .      Case No. 15-cr-00395-REB-1
                                            .
      4                 Plaintiff,          .
                                            .
      5   vs.                               .      Alfred A. Arraj Courthouse
                                            .      901 19th Street
      6   ALAN ALONZO WILLIAMS,             .      Denver, CO 80294
                                            .
      7                 Defendant.          .
                                            .      March 23, 2016
      8   . . . . . . . . . . .       . . . .      10:07 a.m.

      9          TRANSCRIPT OF PROCEEDINGS HELD BEFORE THE HONORABLE
                  KATHLEEN M. TAFOYA, UNITED STATES MAGISTRATE JUDGE
     10
          APPEARANCES:
     11
          For the Plaintiff:                    U.S. Attorney's Office
     12                                         By: Linda S. Kaufman
                                                1801 California Street
     13                                         Suite 1600
                                                Denver, CO 80202
     14                                         (303) 454-0100

     15   For the Defendant:                    Federal Public Defender
                                                By: Natalie G. Stricklin
     16                                         633 17th Street
                                                Suite 1000
     17                                         Denver, CO 80202
                                                (303) 294-1191
     18
          Court Recorder:                       Clerk's Office
     19                                         U.S. District Court
                                                901 19th Street
     20                                         Denver, CO 80294

     21   Transcription Service:                AB Court Reporting & Video
                                                216 16th Street, Suite 600
     22                                         Denver, CO 80202
                                                (303) 296-0017
     23

     24
          Proceedings recorded by electronic sound recording;
     25   transcript produced by transcription service.




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      1                           (Time noted:      10:07 a.m.)

      2                 THE COURT CLERK:        All rise.    Court is in session.

      3                 THE COURT:      Good afternoon, everyone.         Please be

      4   seated.

      5           (Court addresses unrelated matter)

      6                 THE COURT:      The next case is 15 CR 395.         This is

      7   United States of America versus Alan Alonzo Williams.

      8                 And may I have appearances on that case?

      9                 MS. KAUFMAN:      Good morning, Your Honor.         Linda

     10   Kaufman on behalf of the United States.

     11                 MS. STRICKLIN:       Natalie Stricklin on behalf of Mr.

     12   Williams.     He is also present in custody this morning, seated

     13   in the jury box closest to Your Honor.

     14                 THE COURT:      All right, good morning to you, sir.

     15                 MR. WILLIAMS:      Good morning.

     16                 THE COURT:      So I guess you can't go over there

     17   right now, but then you'll go later, right?

     18                 MS. STRICKLIN:       Yes, I will.

     19                 THE COURT:      Okay.   We're here on this case,

     20   though, for an arraignment, a discovery conference, and a

     21   detention hearing.

     22                 So let's take up arraignment first.            Are you

     23   prepared to go forward with arraignment today?

     24                 MS. STRICKLIN:       Yes, Your Honor.

     25                 THE COURT:      All right.     And do you need to have




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      1   the indictment read?

      2                 MS. STRICKLIN:       No, we will waive any further

      3   reading and advisement, and enter a not guilty plea on each

      4   of the four counts.

      5                 THE COURT:      All right.     So the not guilty plea

      6   will be entered as to each count in which Mr. Williams is

      7   charged, which does look to me to be four counts, according

      8   to the penalty sheet, which is what I'm looking at.

      9                 I do have the discovery conference memo and order.

     10                 And the speedy trial dates are -- this is on page

     11   eight.

     12                 The 30-day date is April 17, 2016.

     13                 The 70-day date is May 27, 2016.

     14                 And the 90-day date, if needed, is June 16, 2016.

     15                 Lots of sixes in there.         I don't know if that's a

     16   good thing or a bad thing.

     17                 Did you get the criminal history?

     18                 MS. STRICKLIN:       I did.

     19                 THE COURT:      Okay.   Was that today?

     20                 MS. STRICKLIN:       It was.

     21                 THE COURT:      Could I fill in today's date, then?

     22                 MS. STRICKLIN:       Yes, please, Your Honor.

     23                 THE COURT:      Okay.   And then did you get the --

     24   you're going to get discovery tomorrow from the Government.

     25                 MS. KAUFMAN:      That's correct, yes.




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      1                 THE COURT:      And then discovery -- reciprocal

      2   discovery, then, from the Defendant will be April 25, 2016.

      3                 And obviously any other dates are going to be

      4   before Judge Blackburn, who is your District Judge, so you'll

      5   need to go over there and get those dates from him.

      6                 Are both of you the ones that are going to be on

      7   the case?

      8                 MS. KAUFMAN:      I am.

      9                 MS. STRICKLIN:       I'm standing in for Mr. Golla for

     10   my office.

     11                 THE COURT:      Okay.   But can you get dates, do you

     12   think, for him?

     13                 MS. STRICKLIN:       I can.

     14                 THE COURT:      For Judge Blackburn, in no uncertain

     15   terms, I've been told that you'll need to go get dates.

     16                 MS. KAUFMAN:      All right, we will.

     17                 THE COURT:      Okay.   Now, that's old information, so

     18   by the time --

     19                 MS. KAUFMAN:      That's all right.

     20                 THE COURT:      -- I give it to you, it's already old.

     21                 Okay, so that leaves us with the issue of bond in

     22   this case.      The Government's position?

     23                 MS. KAUFMAN:      We're seeking detention.

     24                 MS. STRICKLIN:       At this time, we are not

     25   contesting detention.




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      1                 However, if circumstances change, we would like to

      2   reserve the opportunity to contest detention at a later time.

      3                 THE COURT:      Okay.   You know, frankly, I don't

      4   think you have to reserve it.           I think if circumstances

      5   change, you have a right to it.

      6                 So it looked to me like he's got a number of

      7   pending charges that have active warrants, which makes it

      8   kind of difficult to get out on bond, right, because then you

      9   just get released to these other cases.

     10                 So something would have to happen with them, I

     11   think, before it could even be considered.

     12                 MS. STRICKLIN:       That's our understanding, as well,

     13   Your Honor.

     14                 THE COURT:      Okay.   So on the basis, then, of the

     15   pre-trial services report, which I read, that's the one I was

     16   reaching for earlier, I did note all of those pending cases.

     17                 And I will find that at this time there is no

     18   condition or combination of conditions that could be imposed

     19   in connection with pre-trial release that would assure your

     20   appearance, as required for the safety of the community.

     21                 And I will order that Mr. Williams be detained

     22   without bond pending further proceedings.

     23                 Any other things that we need to do in this case

     24   today?

     25                 MS. KAUFMAN:      No, Your Honor.       Thank you.




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      1                 MS. STRICKLIN:       No, Your Honor.      Thank you.

      2                 THE COURT:      All right.     The Court will be in

      3   recess.

      4                 THE COURT CLERK:       All rise.

      5                           (Time noted:      10:11 a.m.)

      6                                     * * * * *

      7                                    CERTIFICATE

      8           I, RANDEL RAISON, certify that the foregoing is a

      9   correct transcript from the official electronic sound

     10   recording of the proceedings in the above-entitled matter, to

     11   the best of my ability.

     12

     13

     14   ______________________________                     May 15, 2019

     15   Randel Raison

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